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AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                   for the
                                                           District of Columbia

                   United States of America                           )
                             V. I
                                                                      )
                    Zachary Hayes Martin                              )      Case No.
                       aka Zac Martin                                 )
                                                                      )
                                                                      )
                           Defendant s)


                                                      CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    Janua 6 2021                   in the county of    ----------- in the
                       District of            Columbia            , the defendant(s) violated:
           Code Section                                                       Offense Description
 18 U.S.C. § 1752(a)(1) and (2)                  Restricted Buildings or Grounds
 40 U.S.C. § 5104(e)(2)(D) and (G)               Unlawful Activities on Capitol Grounds. Disorderly Conduct and
                                                 Demonstrating in the Capitol building




          This criminal complaint is based on these facts:
 SEE ATIACHED AFFIDAVIT




          � Continued on the attached sheet.




                                                                                      Michael J. McGillicudd
                                                                                                  Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
Telephone                                       (specify reliable electronic means).
                                                                                                                        2021.01.21
                                                                                                                        20:30:40 -05'00'
Date:              01/21/2021
                                                                                                    Judge's signature

 City and state:                          Washin ton, DC
